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1    Elliot Gale (Bar #263326)
     egale@gajplaw.com
2    Joe Angelo (Bar #268542)
     jangelo@gajplaw.com
3    Gale, Angelo, Johnson, & Pruett, P.C.
     1430 Blue Oaks Blvd., Ste. 250
4    Roseville, CA 95747
     916-290-7778 ph
5    916-721-2767 fax
6    Attorney for Plaintiff
     Stephanie Sarabia
7

8
                              UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10

11                                           CASE NO. 2:20-cv-04850
12
     Stephanie Sarabia,
13
                          Plaintiff,         COMPLAINT FOR DAMAGES:
14                                             1. Violation of Fair Credit Reporting Act
           v.
15

16   Experian Information Solutions, Inc.
17
                          Defendant.
18

19
           COMES NOW Plaintiff Stephanie Sarabia, an individual, based on
20
     information and belief, to allege as follows:
21

22                                     INTRODUCTION
23      1. This case arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681s-
24         2(b), 15 U.S.C. § 1681e(b), 15 U.S.C. § 1681i(a)(2)(A)), 15 U.S.C. §
25         1681i(a)(4)), and15 U.S.C. §1681i(a)(5)(A)).
26
        2. Plaintiff seeks redress for the unlawful and deceptive practices committed

27
           by the Defendant in connection with their inaccurate, misleading, or
28



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1
          incomplete reporting of Plaintiff’s debt included and discharged in
2         Plaintiff’s Chapter 7 bankruptcy.
3      3. The County of San Bernardino (hereinafter “CSB”) is reporting Plaintiff’s
4         account as a collections account with a balance and past-due balance owed,
5         rather than rereporting the account as included/discharged in bankruptcy.
6      4. Such reporting is wholly inaccurate, misleading, and adversely impacts
7         Plaintiff’s credit worthiness.
8
       5. Plaintiff’s credits score has been adversely impacted by the reporting.
9
       6. Plaintiff’s credit reports have been disseminated to third parties since the
10
          entry of her discharge and Plaintiff has been unable to obtain favorable
11
          interest rates as a result of the reporting by CSB.
12
       7. The denials were specifically related to the CSB tradeline and its reporting
13
          of a balance and past-due balance.
14
       8. The United States Congress has found the banking system is dependent
15
          upon fair and accurate credit reporting. Inaccurate credit reports directly
16

17
          impair the efficiency of the banking system, and unfair credit reporting

18
          methods undermine the public confidence, which is essential to the

19        continued functioning of the banking system.
20                            JURISDICTION & VENUE
21     9. Plaintiff re-alleges and incorporates herein by this reference the allegations
22        in each and every paragraph above, fully set forth herein.
23     10.This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and
24        15 U.S.C. § 1681
25     11.This venue is proper pursuant to 28 U.S.C. §1391(b)(1).
26                           GENERAL ALLEGATIONS
27

28



                                               2
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1      12.Plaintiff alleges that each and every defendant data furnisher was included
2         in Plaintiff’s Chapter 7 bankruptcy filing or had notice of Plaintiff’s
3         bankruptcy filing and discharge.
4      13.Plaintiff alleges that CSB received notice of Plaintiff’s chapter 7 filing or
5         had reason to know of Plaintiff’s bankruptcy filing and discharge.
6      14.Plaintiff alleges that each and every Defendant is familiar with credit
7         reporting industry standards and subscribes thereto.
8      15.Plaintiff alleges that each and every Defendant understands that deviation
9         from credit reporting industry standards can and often does result in denial
10        of credit, higher interest rates, and prompts those making credit decisions
11        to draw a more negative inference from the reported data than if the
12        Defendant reported in accordance with the recognized industry standard.
13     16.Plaintiff alleges that all actions alleged herein by Defendants were done
14        knowingly, intentionally, and in reckless disregard for credit reporting
15        industry standards in an attempt to purposefully undermine Plaintiff’s
16        ability to reorganize and repair Plaintiff’s FICO Score.
17     17.In the alternative Plaintiff alleges that each and every Defendant’s actions
18        was the result of reckless policies and procedures that inevitably led to
19        inaccurate, misleading, or incomplete credit reporting.
20                     FICO, Inc.
21     18.FICO is a leading analytics software company with its principal
22        headquarters located in San Jose California. FICO has over 130 patents
23        related to their analytics and decision management technology, and
24        regularly uses mathematical algorithms to predict consumer behavior
25        including credit risk.
26     19.The FICO Score has become the standard measure of consumer credit risk
27        in the United States and is used in ninety percent of lending decisions.
28



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1      20.A FICO score consists of a three-digit number summarizing a consumer’s
2         credit risk or likelihood to repay a loan. FICO periodically updates its
3         scoring models resulting in multiple FICO Score versions.
4      21.Base FICO Scores range from 300 to 850, while industry-specific FICO
5         Scores range from 250-900. A higher FICO Score demonstrates lower
6         credit risk or less likelihood of default.
7      22.Different lenders use different versions of FICO Scores when evaluating a
8         consumer’s credit worthiness.
9      23.There are 28 FICO Scores that are commonly used by lenders.
10     24.A consumer’s FICO Score is calculated based solely on information in
11        consumer credit reports maintained at credit reporting agencies (CRAs).
12     25.The three largest CRAs are Experian Information Solutions, Inc.; Equifax,
13        Inc. and Transunion, LLC.
14     26.FICO does not control what information is provided on a consumer’s credit
15        report. Instead, the scoring models or algorithms are based on the premise
16        that information provided by the CRAs is accurate and complies with
17        credit reporting industry standards.
18     27.There are five key factors that a FICO Score considers: 1) Payment History
19        2) Amount of Debt 3) Length of Credit History 4) New Credit and 5)
20        Credit Mix.
21     28.Each of the five factors is weighted differently by FICO.
22     29.35% of a consumer’s FICO Score relates to payment history, 30% relates
23        to the amount of debt, 15% relates to the length of credit history, 10%
24        relates to new credit, and the last 10% relates to a consumer’s credit mix or
25        the different types of debts reported.
26     30.Payment history refers to whether a consumer has paid their bills in the
27        past, on time, late or missed payments. The more severe, recent, and
28        frequent the late payment information, the greater the impact on a FICO

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1         Score. Public record items such as bankruptcy, foreclosure, judgments,
2         and wage garnishments are also considered part of a consumer’s payment
3         history.
4      31.In factoring the severity of delinquent payments, a FICO Score considers
5         how late the payment continues to be, how much is owed, how recently
6         this occurred, and how many delinquent accounts exist.
7      32.Once a delinquent account has been remedied the longer the account stays
8         current the more a consumer’s FICO Score should increase.
9      33.FICO Scores are entirely dependent upon information provided by data
10        furnishers (DFs) to CRAs.
11     34.The FICO scoring formula treats both Chapter 7 and Chapter 13
12        Bankruptcies similarly in terms of their impact on one’s FICO Score.
13        Specifically, both Chapters have the same level of severity with respect to
14        their FICO Score and for both, FICO uses the filing date to determine how
15        long ago the bankruptcy took place.
16
                e-OSCAR

17
       35.E-OSCAR is the web-based Metro 2 compliant system developed by

18        Experian Information Solutions, Inc.; Equifax, Inc.; TransUnion, LLC and
19        Innovis that enables DFs and CRAs to create and respond to consumer
20        credit disputes.
21     36.When a consumer sends a dispute letter to a CRA the CRA then sends an
22        automated credit dispute verification (ACDV) via e-Oscar to the DF.
23     37.The ACDV contains within it Metro 2 codes next to certain data fields
24        associated with a credit file e.g. “Account Type” “07” (07 in Metro 2 refers
25
          to a Charge Account).
26
       38.regarding a consumer’s credit worthiness.
27
                Consumer Information Indicator
28



                                             5
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1      39.When a consumer files for bankruptcy protection certain credit reporting
2         industry standards exist.
3      40.Certain Metro 2 data is regularly expected and calculated by FICO when
4         determining a consumer’s credit worthiness.
5      41.The Consumer Information Indicator (CII) is a critical field in the Metro 2
6         Format that indicates a special condition that applies to a specific consumer.
7      42.Under Metro 2 the CII must be reported only on the consumer to whom the
8         information applies.
9      43.It is the credit reporting industry standard to report a very specific CII upon
10        the filing of a consumer bankruptcy.
11     44.In the consumer bankruptcy context CII Metro 2 Code “A” denotes that a
12        petition for Chapter 7 has been filed, is active, but no discharge has been
13        entered.
14     45.CII Metro 2 Code “D” indicates that a Chapter 13 petition has been filed, is
15        active, but no discharge entered. This is usually translated on a consumer
16        credit report as “Wage Earner Plan” or “WEP” in the “Account Status”
17        portion of a trade line. Such reporting alerts any potential lender that the
18        account is no longer in a collectable status but is being handled by a Chapter
19        13 trustee.
20     46.The CII Metro 2 Code “Z” indicates that a bankruptcy petition has been filed
21        but the chapter is undesignated/unknown.
22     47.The CII Metro 2 Code “E” denotes that a Chapter 7 bankruptcy has been
23        discharged.
24     48.The CII Metro 2 Code “H” denotes that a Chapter 13 bankruptcy has been
25        discharged.
26     49.The CII field is a critical field for consumers and directly relates to and
27        impacts a consumer’s credit worthiness.
28



                                              6
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1      50. The failure to update the CII field results in the account being calculated as
2          a major derogatory or adverse account.
3      51.The result lowers a consumer’s credit score and makes a consumer appear
4          much less credit worthy.
5
                Plaintiffs Bankruptcy Filing

6      52.Plaintiff filed for Chapter 7 bankruptcy protection on January 31, 2018 in
7          order to discharge various debts and improve Plaintiff’s credit worthiness
8          and FICO Score.
9      53.Plaintiff received her Chapter 7 discharge in May of 2018.
10    54. In early 2021 Plaintiff ordered a credit report from Experian, Equifax, and
11        TransUnion to ensure proper reporting by Plaintiff’s creditors after entry of
12        her discharge.
13
      55. Plaintiff noticed several different trade lines on her credit report all
14
           reporting inaccurate, misleading, or incomplete information that did not
15
           comply with credit reporting industry standards.
16
      56. Various accounts with CSB reported Plaintiff’s account as a collections
17
           account with a balance and past-due balance were currently outstanding.
18
      57. In response, Plaintiff disputed the inaccurate CSB tradeline with Experian.
19
      58. Plaintiff’s dispute specifically put defendant CSB on notice that Plaintiff
20
           had filed for bankruptcy and that the account should not be listed as a
21

22
           collections account with a balance and past-due balance given her

23         bankruptcy discharge. Plaintiff specifically referenced her bankruptcy
24         filing/discharge in her dispute.
25    59. Plaintiff is informed and believes that each CRA received Plaintiff’s
26         dispute letter and, in response, sent Plaintiff’s dispute to each DF via an
27         ACDV through e-OSCAR.
28



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1     60. On May 13, 2021 after the statutory time period had elapsed for Plaintiff to
2          receive a reinvestigation report from the CRAs, Plaintiff ordered a second
3          credit report from Experian for the sole purpose to ensure Plaintiff’s
4          accounts had in fact been updated.
5     61. The CSB account listed above had not been updated and was still
6          appearing on Plaintiff’s Experian report as a collection account with a
7          balance and past-due balance owed.
8     62. Experian informed Plaintiff that the CSB debts were accurate and would
9          not be updated/removed from her credit report.
10    63. Plaintiff has initiated a claim against CSB for violation of the FCRA and
11         CCRAA pursuant to Government Code 910-913.2. Plaintiff may amend
12         the complaint to name CSB if her claim is not resolved.
13         Inaccuracy – CSB
14    64. Plaintiff was frustrated to see that Defendant CSB did not properly update
15         the account but instead continued to report Plaintiff’s account as a
16         collections account.
17    65. CSB’s failure to update its tradeline makes it appear as if Plaintiff still
18         owes CSB money and that the account as not discharged in Plaintiff’s
19         bankruptcy filing.
20    66. Instead of reporting the CII-E, which is the indicator for an account that
21         has been included/discharged in a chapter 7 bankruptcy, CSB continued to
22         report the account as past-due with an outstanding balance owed.
23    67. Therefore, it appears that CSB can still collect against Plaintiff.
24    68. CSB confirmed the reporting as recently as April of 2021.
25    69. In addition, CSB’s reporting fails to alert potential lenders that the account
26         has been discharged and instead makes it appear as if Plaintiff failed to
27         address the CSB account and, therefore, must pay the balance that appears
28         on the CSB tradeline.

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1                Willfulness
2     70. This was not a negligent act by Defendant CSB but instead an intentional
3         act to purposefully undermine Plaintiff’s ability to effectively restore
4         Plaintiff’s credit through bankruptcy.
5     71. CSB is not following industry standards and is instead reporting incorrect
6         information with the hope that Plaintiff will make a payment on the
7         account.
8     72. By indicating that the account is in collections with a balance owed CSB is
9         expecting payments to be made on the account.
10    73. CSB reporting makes Plaintiff appear less credit worthy because the
11        information contained in the CSB tradeline appears to imply the account
12        was not subject to Plaintiff’s chapter 7 discharge.
13    74. Once CSB received Plaintiff’s dispute rather correct tradeline CSB instead
14        ignored the dispute and continued to report the inaccurate information.
15    75. Plaintiff believes the reporting of the inaccurate and misleading
16        information was done by CSB in order to have her make a payment on the
17        account in order to have the negative information removed from her credit
18        report.
19    76. CSB confirmed the reporting of the balance owed/past-due balance as
20        recently as April of 2021, well after Plaintiff received her discharge.
21    77. Such a scheme directly undermines the integrity of not only the bankruptcy
22        court but also the integrity of the credit reporting system at large.
23               Damages
24    78. As a result of the incorrect reporting, Plaintiff has suffered economic loss,
25        diminished credit, emotional harm, and excessive stress resulting in doubt as
26        to the effectiveness of the Bankruptcy Code.
27

28



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1      79. Plaintiff is frustrated and annoyed that her credit has not improved since the
2          discharge of ger chapter 7 bankruptcy as she believed the account with CSB
3          was discharged.
4      80. Plaintiff’s anxiety and stress has increased significantly as she learned that
5          CSB was not acknowledging the bankruptcy discharge and believes that
6          CSB can still collect on the account.
7      81. Plaintiff’s credit score has remained at a low level as a result of the CSB
8          reporting, preventing her from rebuilding her credit and impacting her ability
9          to obtain a more favorable interest rate on extensions of credit.
10     82. The actions of Experian as alleged herein are acts in violation of the Fair
11         Credit Reporting Act, 15 U.S.C. § 1681s-2(b).
12

13
                              FIRST CAUSE OF ACTION
               (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681e(b))
14                                  Against Defendants)
15
           Experian Information Solutions, Inc. – Failure to Assure Credit
16
           Reporting Accuracy.
17

18
       83. Plaintiff realleges and incorporates herein the allegation in each and every

19
           paragraph above as though fully set forth herein.
20     84. Experian violated 15 U.S.C. § 1681e(b) by failing to establish and/or to
21         follow reasonable procedures to assure maximum possible accuracy in the
22         preparation of Plaintiff’s credit reports and credit files it published and
23         maintained concerning Plaintiff.
24     85. Had Experian maintained reasonable procedures to assure maximum
25         accuracy Experian would never have allowed CSB to report the account as
26
           described herein.
27
       86. As a result of Experian’s violation of 15 U.S.C. § 1681e(b), Plaintiff
28
           suffered actual damages, including but not limited to: diminished credit,

                                               10
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1
           damage to reputation, embarrassment, humiliation, and other mental and
2          emotional distress.
3                 Willfulness
4      87. The violations described herein by Experian were willful, specifically the
5          Credit Bureaus have intentionally and purposefully set up a system where
6          inaccuracies are not only probable but inevitable.
7      88. Experian intentionally send consumer disputes to employees who do not live
8
           within the continental United States.
9
       89. This is done intentionally to hide and or subvert a consumer’s ability to
10
           confront individual directly responsible for approving accurate reporting.
11
       90. These employees for Defendant Experian receive little to know training
12
           concerning how to accurately report consumer debt.
13
       91. Instead these employees are simply instructed to parrot whatever
14
           information a data furnisher provides regardless of whether or not that
15
           information is accurate. See Saez v. Trans Union, LLC, 621 F.Supp. 2d
16

17
           1074, 1083, 1088 (D.Or. 2007); Grigoryan v. Experian Info. Sols., Inc., 84

18
           F. Supp. 3d 1044, 1091 (C.D. Cal. 2014); Haykuhi Avetisyan v. Experian

19         Info Sols., No. CV 14-05276-AB (ASX)
20     92. Experian employees are regularly expected to review and approve over 90
21         disputes per day rendering less than five minutes to review, investigate, and
22         respond to each dispute received.
23     93. Experian has intentionally setup this system in order to undermine, hide, and
24         otherwise frustrate consumers’ ability to properly dispute and correct credit
25         reports.
26
       94. Experian knew Plaintiff filed bankruptcy and received a discharge and yet
27
           somehow allowed CSB to report inaccurately and obviously outside of
28
           recognized industry standards.

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1
       95. Given that Experian helped draft the CRRG, and Plaintiff specifically
2           referenced industry guidelines in the dispute letter Experian knew that the
3           CSB account was not reporting in a manner consistent with industry
4           standards i.e. accurate, but chose to do nothing.
5      96. Consequently, Defendant Experian is liable for punitive damages in an
6           amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the
7           alternative, Experian was at least negligent, which entitles Plaintiff to
8
            recovery under 15 U.S.C. § 1681o.
9
       97. Plaintiff is entitled to recover actual damages, statutory damages, costs and
10
            attorney’s fees from Experian in an amount to be determines by the Court
11
            pursuant to 15 U.S.C. § 1681n and § 1681o.
12
                             SECOND CAUSE OF ACTION
13            (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681s-2(b))
14                                  Against Defendants)
15

16      98. Plaintiff realleges and incorporates herein the allegation in each and every
17          paragraph above as though fully set forth herein.
18      99. Experian – Failure to Reinvestigate Disputed Information.
19     100. Plaintiff realleges and incorporates herein the allegation in each and
20
            every paragraph above as though fully set forth herein.
21
       101. After Plaintiff disputed the accounts mentioned above, Experian was
22
            required to conduct a reasonable investigation and to delete any
23
            information that was not accurate under 15 USC 1681i-(a)1.
24
       102. Experian failed to conduct a reasonable investigation and failed to correct
25
            the misleading and or inaccurate statements on the account within the
26
            statutory time frame or at all.
27

28



                                                12
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1
       103. Plaintiff alleges that Experian has its own independent duty to conduct a
2           reasonable investigation 15 USC 1681i-(a)1.
3      104. Experian is not a passive entity bound to report whatever information a
4           data furnisher, such as CSB, provides.
5      105. Plaintiff alleges that Experian is readily familiar with Metro 2 guidelines
6           and credit reporting industry standards given that Experian helped draft
7           said guidelines.
8
       106. Given the aforementioned, Plaintiff alleges that Experian can and does
9
            suppress inaccurate information from being reported when DFs provide
10
            inaccurate information.
11
       107. Experian can and does instruct DFs on how to properly report certain
12
            accounts from time to time upon request from the DF.
13
       108. Experian failed to conduct a reasonable investigation because any basic
14
            investigation would have uncovered that certain DFs were not following
15
            credit reporting industry standards.
16

17
       109. Experian therefore did not do the most basic investigation regarding

18
            credit reporting industry standards otherwise the aforementioned would

19          have been uncovered and the error corrected.
20     110. Experian intentionally, willfully or with reckless disregard for Plaintiff’s
21          accuracy did no investigation whatsoever given that Experian general
22          policy is to simply parrot whatever information a data-furnishers sends.
23     111. Such policy and procedure inherently leads to inaccurate information
24          being reported and therefore such an investigation is wholly
25          unreasonably and reckless i.e. willful.
26
                              THIRD CAUSE OF ACTION
27            (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(4))
                                    Against Defendants)
28



                                               13
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1
            Experian – Failure to Review and Consider All Relevant Information.
2      112. Plaintiff realleges and incorporates herein the allegation in each and every
3
            paragraph above as though fully set forth herein.
4
       113. Experian violated 15 U.S.C. § 1681i(a)(4) by failing to review and consider
5
            all relevant information submitted by Plaintiff.
6
       114. As a result of Experian’s violation of 15 U.S.C. § 1681i(a)(4), Plaintiff
7
            suffered actual damages, including but not limited to, damage to reputation,
8
            embarrassment, humiliation, and other mental and emotional distress.
9
       115. The violations by Experian were willful, rendering Experian individually
10
            liable for punitive damages in an amount to be determines by the Court
11

12
            pursuant to 15 U.S.C. § 1681n.

13     116. In the alternative, Experian was negligent, which entitles Plaintiff to
14          recovery under 15 U.S.C. § 1681o.
15     117. Plaintiff is entitled to recover actual damages, statutory damages, costs and
16          attorney’s fees from Experian in an amount to be determines by the Court
17          pursuant to 15 U.S.C. § 1681n and § 1681o.
18                           FOURTH CAUSE OF ACTION
19          (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(5)(A))
                                    Against Defendants)
20

21          Experian – Failure to Delete Disputed and Inaccurate Information.
22
       118. Plaintiff realleges and incorporates herein the allegation in each and every
23
            paragraph above as though fully set forth herein.
24
       119. Experian violated 15 U.S.C. § 1681i(a)(5)(A) by failing to promptly delete
25
            the disputed inaccurate items of information from Plaintiff’s credit file or
26
            modify the item of information upon a lawful reinvestigation.
27

28



                                               14
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1
       120. As a result of Experian’s violation of 15 U.S.C. § 1681i(a)(5)(A), Plaintiff
2           suffered actual damages, including but not limited to, damage to reputation,
3           embarrassment, humiliation, and other mental and emotional distress.
4      121. The violations by Experian were willful, rendering Experian individually
5           liable for punitive damages in an amount to be determines by the Court
6           pursuant to 15 U.S.C. § 1681n.
7      122. In the alternative, Experian was negligent, which entitles Plaintiff to
8
            recovery under 15 U.S.C. § 1681o.
9
       123. Plaintiff is entitled to recover actual damages, statutory damages, costs and
10
            attorney’s fees from Experian in an amount to be determines by the Court
11
            pursuant to 15 U.S.C. § 1681n and § 1681o.
12
            Wherefore, Plaintiff prays for judgment as hereinafter set forth.
13
                                  PRAYER FOR RELIEF
14
            WHEREFORE, Plaintiff prays for judgment as follows:
15
               1. For preliminary and permanent injunctive relief to stop Defendants
16
                  from engaging in the conduct described above;
17
               2. Award statutory and actual damages pursuant to 15 U.S.C. § 1681n,
18
               3. Award punitive damages in order to deter further unlawful conduct
19
                  pursuant to 15 U.S.C. § 1681n,
20
               4. Award attorney’s fees and costs of suit incurred herein pursuant to
21
                  15 U.S.C. § 1681n & o,
22
               5. For determination by the Court that Creditor’s policies and practices
23
                  are unlawful and in willful violation of 15 U.S.C. § 1681n, et seq.;
24
                  and
25
               6. For determination by the Court that Creditor’s policies and practices
26
                  are unlawful and in negligent violation of 15 U.S.C. § 1681o.
27

28



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1
                                                Gale, Angelo, Johnson, & Pruett,
                                         P.C.
2          Dated:      June 15, 2021                         /s/ Joe Angelo
3                                               Elliot Gale
                                                Attorney for Plaintiff
4

5
                            DEMAND FOR JURY TRIAL
6
           Plaintiff hereby demands trial of this matter by jury.
7
                                                   Gale, Angelo, Johnson, & Pruett,
8                                           P.C.
9
           Dated: June 15, 2021                        /s/ Joe Angelo
10                                              Elliot Gale
11                                              Attorney for Plaintiff
12

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